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                             UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT

                                                 No. 08 57015
                                                        -




        MGA ENTERTAINMENT, INC., MGA ENTERTAINMENT HK, LTD.,
                        AND ISAAC LARIAN,
                            Appellants,
                                                       v   .




                                              MATTEL, INC.,
                                               Appellee.


               APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                        THE HONORABLE STEPHEN G. LARSON
                                               CASE No, 04-CV-9049




          MATTEL, INC.'S REPLY IN SUPPORT OF MOTION TO DISMISS
                                      APPEAL
            [Letter Request of December 23, 2008, Requesting Consideration Jointly
             With Appellant's "Emergency" Motion for Stay Pending Appeal]


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                                       INTRODUCTION
              MGA has the rules of jurisdiction backwards. The district court, recognizing
   that its rulings on post-trial motions could impact its injunctive orders, stayed those
   orders pending resolution of the motions and until further order of the court. The
   parties agree the post-trial motions they filed may impact the already stayed injunction
   orders; in fact, MGA acknowledges that its JMOL motion could "eviscerate[] the
   basis" of the orders (Opp. at 15) and, short of "evisceration," modification of the
   injunctions could be required. Yet, at the same time that MGA seeks in the district
   court to "undermine" the orders (Opp. at 15), it argues here that its appeal divested the
   district court of jurisdiction over them. This exposes the absence of appellate
   jurisdiction. The district court sought to preserve jurisdiction so it could finalize the
   orders in light of the parties' further motions and make them effective (if ever) after it
   addressed all the issues. Such deliberately non-final orders cannot be appealed.
              MGA asserts that Mattel would undercut the appealability of every injunction
   that is stayed temporarily or pending appeal. This straw man is easily answered:
   injunctions, once finalized, are appealable whether or not stayed pending appeal, but
   no authority supports appellate jurisdiction over non-final orders such as those here.
   The injunction here was stayed to allow the district court to resolve motions that might
   "eviscerate" them. MGA cites no case where a Court of Appeals seized jurisdiction
   while the district court was still considering whether its order would go into effect, or
   while the order was stayed indefinitely, or while a post-trial motion that could alter the
   order was pending.' MGA's appeal is inconsistent with the rules of jurisdiction and

      MGA's other hypothetical, in which a party facing a coercive injunction would be
   (footnote continued)

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   the respect for both trial and appellate court functions which those rules reflect.
                                            ARGUMENT
   L THE DECEMBER 3 ORDERS ARE NOT APPEALABLE

               MGA devotes four of the five pages it spends on finality to non-issues. Mattel
   has not argued that a stayed injunction can never be appealed or that an expressly final
   injunction that a district court stays pending appeal—which of course assumes an
   appealable order—is not appealable. Nor has Mattel urged that a one-week stay to
   permit an appellate application for a stay pending appeal defeats appealability. MGA
   attacks these straw men because it has no response to the actual issue at bar.
              Mattel established in its motion that, under controlling authorities, an injunction
   that by its terms will not be effective until some future condition is satisfied (here,
   until the district court decides post-trial motions that could shape the injunctive orders
   and lifts its indefinite stay order) cannot be appealed (at least by the would-be
   enjoined party). Motion at 8 (discussing Zucker v. Maxicare Health Plans, Inc., 14
   F.3d 477, 483 (9th Cir. 1994), and Warehouse Rest., Inc. v. Customs House Rest., Inc.,
   726 F.2d 480, 481 (9th Cir. 1984), among other authorities), MGA has two responses.
              Its first is to misstate the issue. The question is not whether "an otherwise
   appealable injunction cannot be appealed because it has been temporarily stayed,"
   which MGA says these authorities do not "hold." (Opp. at 13.) There is no
   "otherwise appealable injunction" here. The orders are not "otherwise appealable"


   precluded by a pending JMOL motion from seeking a stay in the Court of Appeals—
   which is not MUA's situation here—could properly be addressed through mandamus.
   See In re Sullivan, 904 F.2d 826, 834 (3d Cir. 1990) (mandamus tiled to permit
   motion for stay while tolling motion was pending).


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   precisely because their effectiveness is stayed to allow consideration of motions which
   could result in their revision before they are ever enforced. Nor is there anything
    "temporary" about the language providing that the "stay shall remain in place until
   lifted by further Order of this Court"; the stay is indefinite and, if the district court
   accepts one or more of MGA's arguments on its post-trial motions, the orders may
   never go into effect or may go into effect on different terms. 2
              MGA's second response is to mis-cite (or ignore) the authorities. It dismisses
   Zucker in a misleading parenthetical. According to MGA, there was no enforceable
   injunction in Zucker only because the "paragraph purporting to enjoin appellants did
   not constitute a separate order" (Opp, at 13), implying it is a distinguishable "separate
   judgment rule" case. That is not accurate. The district court's "Final Judgment and
   Order of Dismissal With Prejudice as to Settling Defendants" included a Paragraph 17
   in which the court "permanently enjoined" certain parties from taking specific, well-
   identified actions. 14 F.3d at 480. In Paragraphs 12 and 14, however, the court
   suspended the effectiveness of its order: "This Judgment shall automatically become
   Final . . . five (5) days after the filing of [a notice of ruling in a related case]." Id. at
   481, All parties argued the injunctive aspects of the Judgment were immediately
   appealable—as a "separate order" not subject to the conditions of Paragraphs 12 and
   14—under the express terms of Paragraph 17 itself, which provided:

   2 An order's finality or lack thereof is assessed by examining the language the district
   court chose to use, which shows its intent. See, e.g., Zucker, 14 F.3d at 483 ("The
   court construes judgments with a view to 'give effect to the intention of tie court"'};
   Nat'l Distrib. Agency v. Nationwide Mutual Ins. Co. , 117 F.3 d 432, 434 (9 Cir. 1997)
   (dismissing appeal: In determining whether the second sentence of the district court's
   ruling defeats the order's finality, we focus on the court's intent"); Scanlon v. Sullivan,
   974 F.2d 107, 108 (9th Cir. 1992) (order nonappealable where district court's
   language belied interpretation that it intended
                                            i        order to be final).


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               This ¶ 17 is intended to be and should be construed as being severable
               from the remaining provisions of this judgment and it is this District
               Court's view that it should be treated as a separate order in the event of
               any timely challenge to or appeal from this Judgment based upon the
               provision of this 17.
   Id. at 482-83. This Court disagreed: "Paragraph 17 is a 'separate order' only if there
   occurs any 'timely challenge to or appeal from this Judgment," and "no appeal can be
   made from 'this Judgment' at the present time because the Judgment is not final." Id.
   at 483 (italics in original). And because Paragraph 17 was not a separate order in that
   sense—and was "still subject to the provisions of paragraph 14(a)"—there was no
   jurisdiction: "Because paragraph 17 remains subject to an unfulfilled condition, it is
   not yet an enforceable injunction, and Appellants are not yet bound by it, The court
   therefore lacks jurisdiction under 28 U.S.C. § 1292(a)," Id.; see id. at 485 ("to date
   the Judgment involves no enforceable injunction, so no jurisdiction exists under 28
   U.S.C. § 1292(a)").
               Zucker controls. 3 Where there is no enforceable injunction and there will not be
   one until "an unfulfilled condition" is satisfied (the parties' filing of a notice in Zucker,
   the district court's entry of an order lifting the stay and finalizing the injunctions in
   this case), there is no § 1292(a) jurisdiction. The district court's injunction orders here
   turn on future actions the court may or may not take. They are not appealable. Id. 4

   3 This Court is of course bound by its own precedents. See, e.g., Kotrous v. Goss-
   Jewett Co. ofN. Cal., 523 F.3d 924, 932-33 (9th Cir. 2008) ("a three-judge panel may
   pot itself overrule a prior decision of the court") (citations omitted).
      See also Warehouse, 726 F.2d at 481. MGA distorts Warehouse as well. MGA
   says jurisdiction was declined there because "no injunction wasgranted" and relief
   was merely "deferred." (Opp. at 13.) "No injunction was granted in that case in the
   same sense in which no injunction has been granted here. The district court in
   Warehouse issued a detailed order which "permanently enjoined" specified actions. It
   then ordered that the injunction would not go into effect until future conditions were
   satisfied (including a party's filing of a motion to reopen). As this Court held,
   "liability for an injunction was found but no injunction was granted—the matter was
   (footnote continued)

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               Mattel is aware of no contrary authority; MGA has not cited any. MGA cites
    Natural Resource Defense Council v. Southwest Marine, Inc. , for the proposition that
    a temporary stay of an injunction, "conditioned on a decision by this Court or by the
    District Court," does not undermine appealability. 236 F.3d 985, 1001 (9th Cir. 2000)
    (see Opp. at 12-13.) Southwest Marine did not even address the appealability of an
    injunction. 5 Rather, in addressing an argument that the district court "failed to balance
   the equities," this Court recited the evidence considered by the district court (revealing
    its deliberation) and then added that the district court had "temporarily stayed the
   injunction to allow further argument and evidence, and eventually modified the
   original injunction with respect to testing, containment of runoff, and cleanup." Id.
   Tin its order lifting the temporary stay, the court noted that it was mindful of the
   cost that it was imposing on Defendant, but concluded that the cost was outweighed .
   .. " Id (emphasis added). It was not the stayed injunction but the final one that the

   Court reviewed. Had the stayed injunction been validly appealed as MGA suggests,
   the district court never could have done what it did—"modified the original
   injunction"—since its jurisdiction to do so would have been divested. See Griggs v.
   Prov. Consumer Disc. Co., 459 U.S. 56, 58 (1982) (per curiam). 6


   held in abeyance, awaiting future events . . . . This is not a final determination." Id.
          These cases also show why MGA's assertion that the injunction orders comply
   with Rule 65(dY_s specificity requirements (Opp. at 10)i is irrelevant. The injunctions
   in Zucker and Warehouse were amply specific but still not appealable as injunctions.
   Adequate specificity may be required, but it is not sufficient where there is no finahty,
   Merely titling an order "injunction" or "judgment" and reciting the putative
               .


   Injunction's terms does not confer appellate jurisdiction.
     As MGA states, cases are "not authority for a proposition not considered." (Opp. at
     9 n.10.)
     MGA cites Trans World Airlines, Inc. v. American Coupon Exch., Inc., 913 F.2d 676
   (9th Cir. 1990). That case accepted jurisdiction where a final permanent injunction
   was entered but stayed pending appeal. Id. at 679-80. It has no application here.
   (footnote continued))

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                There is nothing extraordinary about the holdings of these cases, or the
    underlying rules they enforce. MGA's suggestion that it would be nefarious to "permit
    the District Courts to destroy appellate jurisdiction" by issuing non-final orders (Opp.
    at 12) turns the logic of judicial decisionmaking and review on its head. A district
    court does not act nefariously when it ensures that an appellate court need not waste
    its time reviewing interim orders that may change or never be enforced. The
    requirement of finality both preserves appellate resources and protects a district court's
    ability to modify its non-final orders based on pending motions which it would
    otherwise lack jurisdiction to decide. ? District courts are supposed to have the ability
    to "destroy" appellate jurisdiction until they are ready to finalize their orders;
    appellate courts can review orders only when the district court has laid its pen to rest.
    "It is not the function of appellate courts to review tentative decisions of trial courts."
    United States v. Smith, 331 U.S. 469, 474 (1947). 8


    Judge Larson did not grant a stay pending appeal of a final order; he granted a stay
    pending further district court rulings as to a non-final one. This disposes of MGA's "a


                                     r
    fortiori argument that if a stay pending appeal, "which can last for several years,"
    does not destroy appealability then a shorter stay cannot either. (Opp. at 12.)
    Appealability turns not on the duration of the stay but the finality of the underlying
    order. William Keeton Enter rises, Inc. v. A All American Strip-O-Rama, Inc., 74
    F.3d 178, 179 (9th Cir. 1996 , is similarly unhelpful to MGA. It merely states the
    general rule that 28 U.S.C. § 292 provides for appellate jurisdiction over appeals of
     final) injunction orders, which is undisputed.
      Although a "district court . . . retain[s] the power to preserve the status quo while the
    case is pending in the appellate court . . ., it cannot finally adjudicate substantial rights
             din the appeal. Pyrodyne Corp. v. Pyrotronics Corp., 847 F.2d 1398, 1403
    (9th Cir. 1988) ("1 he district court properly concluded that it was without jurisdiction
    to rule on [defendant's motion for preliminary injunction] while the issue of the scope
    pf [plaintiffs] defenses was pending in this court."). See also Griggs, 459 U.S. at 58.
      gee also Way v. Cty. of Ventura, 348 F.3d 808, 810 (9th Cir. 2003) (dismissing
    appeal here court's invitation of motion as to additional defense showed its "intention
    clearly was not that the Order 'be the court's final act in the matter,' but rather that the
    court would entertain additional arguments") (italics in original); Nat'l Distrib.
    Agency, 117 F.3d at 434 ("A district court ruling is not final if the court reserves the
    option of further modifying its ruling.").

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                The district court's intent in this case is manifest. It stayed its orders so it could
     resolve motions that may implicate their "basis" before finalizing them. This Court
     should not "snatch a case away from the district court before the district court has
     issued a binding, enforceable judgment." Zucker, 14 F.3d at 481-82. Jurisdiction
    under "28 U.S.C. § 1292(a)(1) is construed strictly, in keeping with the federal policy
    against piecemeal review," and it is lacking here. El-Tabech v. Gunter, 992 F.2d 183,
     185 (8th Cir. 1993). 9
    IL THE COURT LACKS JURISDICTION AT LEAST UNTIL ALL
                PENDING TOLLING MOTIONS ARE RESOLVED

                The Rule 4(a)(4) toning issues in this case are not as esoteric or complex as
    MGA suggests. Any tolling motion timely filed by any party deprives a Court of
    Appeals of jurisdiction until all such motions are resolved. See, e.g., U.S. for Use of
    Pippin v. JR. Youngdale Const. Co., Inc., 923 F.2d 146, 148 (9th Cir. 1991) ("If any
    party to the action files a [tolling] motion, the time to file a notice of appeal is tolled
    for all parties."). MGA urges the Rule does not apply here, though tolling motions are
    pending, because they are not "directed to" the injunctions and instead merely
    "collaterally affect" them. (Opp. at 15, 17.) Here again, MGA cites no authority to
    support its position and has the principles of jurisdiction precisely backwards.


    9 The rules of f nality serve salutary goals. See Stringfellow v. Concerned Neighbors
   in Action, 480 U.S. 370, 380 (1987) ("Pretrial appeals . • . burden appellate courts by
              immediate
               mmediate consideration of issues that may become moot or irrelevant by
   the end of trial. In addition, the finality doctrine protects the strong interest in allowing
   trial judges to supervise pretrial and trial procedures without undue interference.")'
   Pride Shipping Corp. v. Tafu Lumber Co., 898 F.2d 1404, 1406 (9th Cir. 1990) (final
   judgment rule "fosters the principle that piecemeal appeals are inappropriate, since
   they can add delay and expense to proceedings, while calling upon     uponappeals courts to
   decide issues that ultimately need not have been decided at all.


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                By its terms, Rule 4(a)(4) tolls appeals and deprives jurisdiction whenever a
    notice of appeal is filed "after the [district] court announces or enters a judgment ..
    but before it disposes of any motion listed in Rule 4(a)(4)(A)." Fed. R. App. P.
    4(a)(4)(B)(i) (emphasis added). MGA acknowledges the injunction orders from
    which it attempts to appeal are "judgments" for Rule 4(a)(4) purposes and that "tolling
    motions" by both MGA and Mattel are pending, but urges the Court to retain
    jurisdiction because the motions ostensibly are not "directed to" the appealed order.
    MGA cites no authority that draws such a distinction. The language of the Rule does
    not permit any such reading (it does not read ". . . before it disposes of any motion
    listed in Rule 4(a)(4)(A) that is directed to the judgment"), and the authorities are to
    the contrary. See, e,g., F.E.L. Publ'ns, Ltd. v. Catholic Bishop of Chicago, 739 F.2d
    284, 284 (7th Cir. 1984) (that "plaintiffs Rule 59(e) motion was addressed to the part
    of the judgment that disposed of its copyright claim [while] the defendant's appeal is
    from the parts that dispose of the plaintiffs tortious interference and exemplary-
    damages claims . . . makes no difference at all, as we think is clear from the fact that
    Rule 4(a)(4) states that the filing of a [tolling motion] extends the time for appeal for
    all parties . . . and makes the notice of appeal of no effect ... whether or not an
    alteration of the judgment would be required if the motion is granted.") (quotation
    omitted) (emphasis in original); Davidson v. Sun Exploration & Production Co., 857
    F.2d 988, 988 (5th Cir. 1988) ("A motion for new trial on only some issues activates
    the provisions of appellate Rule 4(a)(4) on all issues.. . . To hold otherwise .. would
    introduce the kind of uncertainty that . , . Rule 4(a)(4) was designed to banish.").
                The fallacy of MGA' s argument becomes particularly clear when the substance


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    of the pending motions is considered. Tolling applies "whether or not an alteration of
    the judgment would be required if the motion is granted," F.E.L. Publ'n, 739 F.2d at
    284. It applies ever more clearly where granting a tolling motion could "eviscerate[]
    the basis" for the injunction orders. (Opp. at 15.) Rule 4(a)(4) exists to promote
    judicial economy by allowing district courts to finally resolve all pending issues
    before appellate courts take exclusive jurisdiction. Tripati v. Henman, 845 F.2d 205,
    206 (9th Cir. 1988) ("the purpose of Rule 4(a)(4) is to prevent duplication of effort by
    the courts"). The parties and district court recognize the overlap between the issues
    purportedly on appeal and those raised in the pending motions; the Rule is designed
    precisely to avoid the preemptive appellate jurisdiction MGA seeks. 1°
               MGA insists that "interlocutory appeals do not automatically stay proceedings
    in the trial court," suggesting that overlapping appellate and district court jurisdiction
    can be proper. (Opp. at 16 (italics added).) That a district court may retain
   jurisdiction over other aspects of a case while an interlocutory appeal is pending, as
    MGA's authorities show, 11 is unremarkable and irrelevant. The cases MGA cites do


    1° As Mattel showed in its Motion (at 14-15), MGA's pending JMOL motion could
    impact the injunction orders and the issues on appeal. MGA also has another tolling
   motion pending, a Rule 59 motion for remittitur, which itself could impact the issues
    on appeal (thejury's overall damages award rebuts MGA's assertion that the copyright
    Infringement damages award pr ecluded the injunction). Mattel's motion too could
    impact the appeal by undermining the predicates for the purported Seventh
   Amendment argument MGA urges on appeal (if all Bratz dolts infringe Mattel's
   copyrights as a matter of law, as Mattel is arguing to the district court, any putative
   jury finding that only the "first generation" dolls infringe would be irrelevant to the
   proper scope of the injunction). (See Mattel's Renewed JMOL, dated December 22,
   ?1008, at 3-4.) MGA disputes none of this.
       See State of Ala. v. U.S. E.P.A., 871 F.2d 1548, 1554 (1 ith Cir. 1989) (while
   interlocutory appeal pending, district court retained jurisdiction over matters not
   subject to appeal); Phelan v. Taitano, 233 F.2d 117, 119 9th Cir. 1956) (same;)
   Plotkin v. Pacific Tel. and Tel. Co. , 688 F.2d 1291, 1293 9th Cir. 1982) (same);
   DePinto v. Provident Sec. Life Ins. Co., 374 F.2d 50, 51-52 9th Cir. 1967) (same).


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    not even address Rule 4(a)(4). The question is not whether an appeal stays district
    court proceedings but whether a tolling motion vitiates appellate jurisdiction. MGA's
    appeal of the injunction orders and the parties' pending JMOL and Rule 59 motions
    raise overlapping issues; preemptive appellate jurisdiction would undermine Rule 4's
    purposes. See Tripati, 845 F.2d at 206; F.E.L. Publ'ns, 739 F.2d at 284-85. MGA

    suggests that the duplication and waste of judicial resources it demands are
    "irrelevant" (Opp. at 17-18), but the opposite is true. Such duplication and waste is
    precisely what Rule 4(a)(4) is designed to avoid. 12
               Finally, dismissal for want of appellate jurisdiction is proper under Rule 4. See
    Miller v. Marriott Ina, Inc., 300 F.3d 1061, 1063 (9th Cir. 2002) (dismissing appeal
    because tolling motion was pending); Simmons v. Reliance Standard Life Ins. Co. of
    Texas, 310 F.3d 865, 869-70 (5th Cir. 2002) (same); Square D Co. v. Fastrak
    Softworks, Inc., 107 F.3d 448, 450 (7th Cir. 1997) (same). MGA urges the appeal
    should be "held in abeyance," citing In re Rains, 428 F.3d 893 (9th Cir. 2005), but
    12
      The flaws in MGA's position are highlighted by its demand that this Court modify
   the injunctions for the district court. MGA concedes both that appellate jurisdiction
   would divest district court jurisdiction to modify the injunctions and that MGA
    currently seeks to undermine the injunctions with its JMOL motion. (It also seeks to
   modify them; for example, success on its argument that only the first generation Bratz
    dolls infringe as a matter of law (see MGA JMOL at 21) could require that the scope
   of the copyright injunction be limited.) If it prevails on its JMOL motion, MGA says
   it will then "request this Court to vacate and remand the Injunction Orders to the
   District Court so that it could vacate them . . . ." (Opp. at 15 n.8.) That unusual
   suggestion shows why Rule 4(a)(4) exists. It is not the role of Courts of Appeals to
   vacate or modify injunctions that district courts, recognizing that they may need to be
   reconsidered in light of arguments still being made, have not yet finalized.
           MGA also appears to argue this Court should exercise pendent appellate
   jurisdiction over issues which the district court has not even addressed yet. (Opp. at
    17, citing Aerojet-General Corp. v. American Arbitration Assn, 478 F.2d 248 (9th
   Cir. 1973).) Far from holding that this Court may exercise jurisdiction over issues not
   yet addressed in the district court when a tolling motion is pending, Aerojet-General
   recognized that a valid interlocutory appeal may, in exceptional circumstances,
   "bring`] the entire case before the court.' Id. at 252. This is irrelevant to whether
   MGA has taken a valid appeal in the first place.


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        that case was decided under the Federal Rules of Bankruptcy Procedure and did not
        cite or consider Marriott Int 11. 13 The argument lacks substance in any event. As
        Mattel showed, whether an appeal is dismissed or held in abeyance, an appellate court
        lacks jurisdiction to act while tolling motions are pending. (Motion at 12-13) (citing
    Katerinos v. U.S. Dept. of Treasury, 368 F.3d 733, 738 (7th Cir. 2004) (while appeal
        is in abeyance, "this court lacks jurisdiction")) MGA does not contend otherwise.
    Regardless of the label of the remedy employed, this Court lacks jurisdiction. And
    because it lacks jurisdiction, the Court also should deny MGA's application for a
    stay.' 4
    DATED: December 29, 2008                       Respectfully submitted,
                                                   QUINN EMANUEL URQUHART
                                                    OLIVER & HEDGES, LLP

                                                   By:                        An-
                                                         jdhn .B.
                                                         Attorney for Mattel, Inc.



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       MGA also cites Schroeder v. McDonald, 55 F.3d 454, 459 (9th Cir. 1995), which
   held that the amended Rule 4(a)(4) should be applied retroactively to allow the Court
   to exercise jurisdiction over an appeal that would have been barred under the Rule's
   prior version. Schroeder did not hold, however, that dismissal for lack of appellate
                    i
   jurisdiction is improper   when a tolling motion is pending. Rule 4(a)(4) was amended
   to avoid a "trap for the unwary" who might appealprematurely (rendering their notice
   of appeal a nullity) and thereafter fail to file an effective notice of appeal once tolling
   motions were resolved. The affirmative dismissal of a notice of appeal while a tolling
   motion is pending poses no such risk; a litigant whose appeal is dismissed knows he
   just file a valid notice of appeal once, if ever, the appeal actually becomes ri_pe.
    ' Only a timely tolling motion vitiates appellate jurisdiction, as MGA notes. That is
    1

   because untimely motions, which are waived, do not implicate unnecessary
   duplication of trial and appellate resources and effort. Of course, as the Court knows
   from a review of MGArs stay application, MGA's likelihood of success on appeal
   would be even lower if its JMOL arguments have been waived because, in several
   cases, those are the arguments it seeks to press on appeal. Should the Court find the
   tolling motions filed below to be untimely, Mattel respectfully submits it should make
   that ruling expressly to avoid confusion and uncertainty in trial court proceedings.


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